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                                                                      CAUSE NO.


                            TAMMY MCKINNEY                                       §          IN THE DISTRICT COURT
                            Plaintiff,                                           §
                                                                                 §
                            V.                                                   §                   JUDICIAL DISTRICT
                                                                                 §
                                                                                 §
                            THE KROGER CO. AND                                   §
                            KROGER TEXAS LP.                                     §
                            Defendants.                                          §          HARRIS COUNTY, TEXAS



                                                           PLAINTIFFS ORIGINAL PETITION



                            TO THE HONORABLE JUDGE OF SAID COURT:

                                    NOW COMES TAMMY MCKINNEY, INDIVIDUALLY, hereinafter called Plaintiff,

                            complaining of and about THE KROGER CO. and KROGER TEXAS L.P., hereinafter called

                            Defendants, and for cause of action shows unto the Court the following:

                                                                                     I.

                                                         DISCOVERY CONTROL PLAN LEVEL


                                    1.        Plaintiff intends that discovery be conducted under Discovery Level 2.

                                                                                     IL


                                                                    PARTIES AND SERVICE

                                    2.        Plaintiff TAMMY MCKINNEY is an individual whose address is 9001 Jones


                            Road, #1509, Houston, Texas 77065. The last three numbers of Plaintiffs social security number

                            are 077. The last three numbers of Plaintiffs Texas Identification Card are 129.

                                    3.        Defendant THE KROGER CO., a corporation doing business in the State of Texas,

                            may be served with process by serving its Registered Agent Corporation Service Company d/b/a

                            CSC-Lawyers Incorporating Service Company, at the following address: 211 E. 7th Street, Suite


                            Tammy McKinney v. The Kroger Co. and Kroger Texas L.P.
                            1 - Plaintiffs Original Petition




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                                                 EXHIBIT A
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                             620, Austin, Texas 78701-3218. Service of said Defendant as described above can be effected by

                             private process service.


                                     4.        Defendant KROGER TEXAS L.P., a corporation doing business in the State of


                             Texas, may be served with process by serving its Registered Agent, Corporation Service Company

                             d/b/a CSC-Lawyers Incorporating Service Company, at the following address: 211 E. 7th Street,

                             Suite 620, Austin, Texas 78701-3218.           Service of said Defendant as described above can be

                             effected by private process service.

                                                                                   in.

                                                                    JURISDICTION AND VENUE

                                     5.        The subject matter in controversy is within the jurisdictional limits of this court.

                                     6.        Plaintiff seeks:

                                               a.        Monetary relief of over $200,000.00 but not more than $1,000,000.00.

                                     7.        This court has jurisdiction over the parties because Defendants are corporations

                             doing business in the State of Texas.

                                     8.        Venue in Harris County is proper in this cause under Section 15.002(a)(1) of the

                             Texas Civil Practice and Remedies Code because all or a substantia] part of the events or omissions

                             giving rise to this lawsuit occurred in this county.

                                                                                   IV.


                                                                                  FACTS

                                     9.        On or about December 17, 2019, Plaintiff was a customer at Defendants'


                             supermarket located at 9330 Jones Road, Houston, Texas 77065.

                                     10.       As Plaintiff was walking through the store, she tripped and fell on a metal plate that

                             was on the floor.


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                             2 - Plaintiffs Original Petition




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                                     11.       As a direct result of the incident, Plaintiff TAMMY MCK1NNEY was forced to

                             seek medical treatment for her sustained injuries and incurred medical expenses as a result thereof.

                                                                                  V.


                                                           PLAINTIFF'S CLAIM OF NEGLIGENCE

                                                                    AGAINST DEFENDANTS


                                     12.       Defendants had a duty to exercise the degree of care a reasonably careful person

                             would use to avoid harm to others under circumstances similar to those described herein.

                                     13.       Plaintiffs injuries were proximately caused by Defendants* negligent, careless, and

                             reckless disregard of said duty.

                                     14.       The negligent, careless, and reckless disregard of duty of Defendants consisted of,


                             but is not limited to, the following acts and omissions:

                                               A. In that Defendants had actual or constructive knowledge of some condition on


                                                    the premises which posed an unreasonable risk of barm; and

                                               B. In that Defendants did not exercise reasonable care to eliminate or reduce the

                                                    risk that proximately caused Plaintiffs injuries.


                                                                                  VI.


                                                     DAMAGES FOR PLAINTIFF TAMMY MCKINNEY


                                     15.       As a direct and proximate result of the occurrence made the basis of this lawsuit,

                             and Defendants' acts as described herein, Plaintiff was caused to suffer a loss of, and seeks

                             damages for, amounts within the jurisdictional limits of this Court.


                                     16.       As a result of the negligent conduct of Defendants, Plaintiff suffered bodily injuries.

                             The injuries have had a serious effect on Plaintiffs health and well-being. As further result of the

                             nature and consequences of Defendants' actions, Plaintiff has suffered great physical and mental

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                             3 - Plaintiffs Original Petition



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                             pain, suffering, and anguish, and in all reasonable probability will continue to suffer in this manner


                             for a long time in the future.            As a direct and proximate result of the negligent conduct of

                             Defendants, Plaintiff sustained injuries to her back and body in general.


                                     17.        Asa result of the Injuries sustained, Plaintiff has incurred reasonable and customary

                             doctor and medical expenses to date for necessary medical treatment.

                                     18.        From the date of the incident in question until the time of trial, there are certain

                             elements of damages provided by law that Plaintiff is entitled to have the court in this case to

                             consider singularly, together, and combined with others to determine the sum of money that will


                             fairly and reasonably compensate Plaintiff for her injuries, damages, and losses incurred and to be

                             incurred in the future:

                                           A.            Reasonable medical care and expenses in the past.        These expenses were

                                                         incurred by Plaintiff TAMMY MCKENNEY for the necessary care and

                                                     treatment of the injuries resulting from the incident complained of herein and

                                                     such charges are reasonable and were usual and customary charges for such

                                                     services in Harris County, Texas;

                                           B.        Pain and suffering in the past and pain and suffering in the future;

                                           C.            Mental anguish in the past;

                                           D.            Mental anguish in the future;

                                           E.            Medical expenses;

                                           F.            Medical expenses in the future;

                                           G.            Lost wages;


                                     19.        Because of the injuries sustained by Plaintiff in the occurrence made the basis of

                             this suit, this cause is maintained. As a result of the serious injuries Plaintiff has sustained and


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                             4 - Plaintiffs Original Petition




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                             other damages for which Plaintiff has previously pled. Plaintiff is entitled to recover damages from


                             Defendants in this action in the form of monetary relief of over $200,000.00 but not more than

                             $1,000,000.00 excluding post-judgment interest, depending on what the jury decides to award.

                                                                                   VII.


                                                                           JURY DEMAND


                                     20.       Pursuant to Texas Rules of Civil Procedure 216, Plaintiff hereby requests a trial by

                            jury.


                                                                                   vm.


                                                    PRE-JUDGMENT AND POST-JUDGMENT INTEREST


                                     21.     Plaintiff seeks to recover pre-judgment and post-judgment interest herein,


                             WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to appear

                             and answer herein and that upon trial of this cause, Plaintiff be awarded:

                                               A.        Judgment against Defendants, jointly and/or severally, for past medical

                                     expenses in the amount of Sixty-Two Thousand Three Hundred Dollars ($62,300.00);

                                               B.        Judgment against Defendants, jointly and/or severally, for future medical

                                     expenses in an amount to be determined by the jury;

                                               C.        Judgment against Defendants, jointly and/or severally, for physical pain and

                                     suffering in the past in an amount to be determined by the jury;


                                               D.        Judgment against Defendants, jointly and/or severally, for physical pain and

                                     suffering in the future in an amount to be determined by the jury


                                               E.        Judgment against Defendants, jointly and/or severally, for mental anguish

                                     in the past in an amount to be determined by the jury;




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                                               F.        Judgment against Defendants, jointly and/or severally, for mental anguish


                                     in the future in an amount to be determined by the jury

                                               G.        Judgment against Defendants, jointly and/or severally, for lost wages in an

                                     amount to be determined by the jury;

                                               H.        Court costs;


                                               I.        Interest on said judgment at the legal rate from the date ofjudgment until

                                     paid;

                                              J.         Pre-judgment interest;

                                               K.        Together with such other and further relief, general and special, whether at


                                     law or in equity, to which Plaintiff may show herselfjustly entitled.

                                                                                  IX,

                                                             MAXIMUM AMOUNT OF DAMAGES


                                     22.       Plaintiff pleads maximum amount of damages to be $200,000.00 but not more than

                             $1,000,000.00 and demands judgment for all other relief to which the jury deems ber entitled.

                                                                                                     Respectfully Submitted,

                                                                                                     HOLLINS LAW GROUP PLLC




                                                                                                     By:
                                                                                                     Aysia Mayo-Gray
                                                                                                     Texas Bar No. 24109256
                                                                                                     5832 Highway 6 North
                                                                                                     Houston, TX 77084
                                                                                                     346.980.4600
                                                                                                     346.980.4610 (Fax)
                                                                                                     info@hollinsiawgroup.com
                                                                                                     Attorney for Plaintiff
                                                                                                     TAMMY MCKINNEY


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                             6 - Plaintiffs Original Petition



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                                                         PLAINTIFF HEREBY DEMANDS TRIAL BY JURY




                                                                                       Aysia Mayo-Gray




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                                                                    CAUSE NO.


                             TAMMY MCKINNEY                                    §     IN THE DISTRICT COURT
                             Plaintiff,                                        §
                                                                               §
                             V.                                                §              JUDICIAL DISTRICT
                                                                               §
                                                                               §
                             THE KROGER CO. AND                                §
                             KROGER TEXAS L.P.                                 i
                             Defendants.                                       §     HARRIS COUNTY, TEXAS




                                                        PLAINTIFF'S REQUEST FOR DISCLOSURE

                             TO:    Defendant, THE KROGER CO., by and through its Registered Agent, Corporation Service
                                    Company d/b/a CSC-Lawyers Incorporating Service Company, at 211 E. 7th Street, Suite
                                    620, Austin, Texas 78701-3218

                                    COMES NOW PLAINTIFF, TAMMY MCKINNEY, and serves this Request for

                             Disclosure to Defendant. THE KROGER CO., made under Texas Rule of Civil Procedure 194.2.




                                                                                     Respectfully submitted,




                                                                                     Aysia Mayo-Gray
                                                                                     Texas Bar No. 24109256
                                                                                     HOLLINS LAW GROUP PLLC
                                                                                     5832 Highway 6 North
                                                                                     Houston, Texas 77084
                                                                                     346.980.4600
                                                                                     346.980.4610 (Fax)
                                                                                     info@holiinsiawgroup.com
                                                                                     Attorney for Plaintiff
                                                                                     TAMMY MCKINNEY




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                                                                    CERTIFICATE OF SERVICE


                                        I hereby certify that a true and correct copy of the above and foregoing document has been
                                    served on Defendant THE KROGER CO. simultaneously with the service of Plaintiffs
                                    Original Petition.




                                                                                               Aysia Mayo-Gray




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                                                           PLAINTIFF'S REQUEST FOR DISCLOSURE
                                                                   TO DEFENDANT THE KROGER CO,


                                    (a) The correct names of the parties to this lawsuit.




                                    (b) The names, addresses, and telephone numbers of any potential parties.




                                    (c) The legal theories and, in general, the factual bases of the responding party's claims
                                        or defenses.




                                    (d) The amount and any method of calculating economic damages.




                                    (e) The name, address, and telephone number of persons having knowledge of relevant
                                        facts, along with a brief statement of each identified person in connection with the case.




                                    (f) For all testifying experts:
                                            (1) The expert's name, address, and telephone number;
                                              (2) The subject matter on which the expert will testify;
                                              (3) The general substance of the expert's mental impressions and opinions and a
                                                   brief summary of the basis for them, or if the expert is not retained by, employed
                                                   by, or otherwise subject to your control, the documents reflecting such
                                                   information.




                                    (g) Any discoverable indemnity and insuring agreements.




                                    (h) Any discoverable settlement agreements.




                                    (i) Any discoverable witness statements.




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                                    (J) All medical records and bills that are reasonably related to injury or damages asserted
                                        or, in lieu thereof, an authorization permitting the disclosure of such records and bills.




                                    (k) Ina suit alleging physical or mental injury and damages from the occurrence that is the
                                        subject of this case, all medical records and bills obtained by you by virtue of an
                                        authorization furnished by this party.




                                    (1) The name, address, and telephone number of any person who may be designated as a
                                        responsible third party.




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                                                                      CAUSE NO.


                             TAMMY MCKINNEY                                      §     IN THE DISTRICT COURT
                             Plaintiff,                                          §
                                                                                 §
                             V.                                                  §              JUDICIAL DISTRICT
                                                                                 §
                                                                                 §
                             THE KROGER CO. AND                                  §
                             KROGER TEXAS L.P.                                   i
                             Defendants.                                         §     HARRIS COUNTY, TEXAS




                                                          PLAINTIFF'S REQUEST FOR DISCLOSURE

                             TO:      Defendant, KROGER TEXAS L.P., by and through its Registered Agent, Corporation
                                      Service Company d/b/a CSC-Lawyers Incorporating Service Company, at 211 E. 7™ Street,
                                      Suite 620, Austin, Texas 78701-3218

                                      COMES NOW PLAINTIFF, TAMMY MCKINNEY, and serves this Request for

                             Disclosure to Defendant, KROGER TEXAS L.P., made under Texas Rule of Civil Procedure

                             194.2.




                                                                                       Respectfully submitted,


                                                                                                 A         A

                                                                                       Aysia Mayo-Gray
                                                                                       Texas Bar No. 24109256
                                                                                       HOLLINS LAW GROUP PLLC
                                                                                       5832 Highway 6 North
                                                                                       Houston, Texas 77084
                                                                                       346.980.4600
                                                                                       346.980.4610 (Fax)
                                                                                       info@hollinslawgroup.com
                                                                                       Attorney for Plaintiff
                                                                                       TAMMY MCKINNEY




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                                                                    CERTIFICATE OF SERVICE


                                        I hereby certify that a true and correct copy of the above and foregoing document has been
                                    served on Defendant KROGER TEXAS LP. simultaneously with the service of Plaintiffs
                                    Original Petition.


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                                                                                               Aysia Mayo-Gray




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                                                           PLAINTIFF'S REQUEST FOR DISCLOSURE
                                                               TO DEFENDANT KROGER TEXAS L.P.


                                    (a) The correct names of the parties to this lawsuit.




                                    (b) The names, addresses, and telephone numbers of any potential parties.




                                    (c) The legal theories and, in general, the factual bases of the responding party's claims
                                        or defenses.




                                    (d) The amount and any method of calculating economic damages.




                                    (e) The name, address, and telephone number of persons having knowledge of relevant
                                        facts, along with a brief statement of each identified person in connection with the case.




                                    (f) For all testifying experts:
                                            (1) The expert's name, address, and telephone number;
                                              (2) The subject matter on which the expert will testify;
                                              (3) The general substance of the expert's mental impressions and opinions and a
                                                   brief summary of the basis for them, or if the expert is not retained by, employed
                                                   by, or otherwise subject to your control, the documents reflecting such
                                                   information.




                                    (g) Any discoverable indemnity and insuring agreements.




                                    (h) Any discoverable settlement agreements.




                                    (i) Any discoverable witness statements.




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                                    (J) All medical records and bills that are reasonably related to injury or damages asserted
                                        or, in lieu thereof, an authorization permitting the disclosure of such records and bills.




                                    (k) Ina suit alleging physical or mental injury and damages from the occurrence that is the
                                        subject of this case, all medical records and bills obtained by you by virtue of an
                                        authorization furnished by this party.




                                    (1) The name, address, and telephone number of any person who may be designated as a
                                        responsible third party.




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                                    fc I          Marilyn Burgess
                                                  HARRIS COUNTY DISTRICT CLERK
                                                  20" Caroline j P.O. Box 4651 ] Houston, Texas /7210-4651 | 832-927-5800 | www.hcdistrictceric.com


                                                                       Request for Issuance of Service
                  CASE NUMBER:                                                        CURRENT COURT: __


                  Nm»e(s) of Documents to be serwd: Plaintiff's Original Petition and Request for Disclosure

                  FILE DATE:          10/07/2020                            Month/Day/Year
                  SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The PleadingTo Be

                  Served):

                  Issue Service to: The Kroger Co.

                  Address of Service: 211 E. 7th Street, Suite 620
                  City, State & Zip: Austin. Texas 78701-3218

                  Agent (if applicable)       Corporation Service Company d/b/a CSC-Lawvers Incorporating Service Company

                  TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)

                  [ X ] Citation            Citation by Posting Q                 Citation by Publication                Q Citations Rule 106 Service
                        Citation Scire Facias                                    Newspaper

                        Temporary Restraining Order                              Precept                                 O Notice
                        Protective Order
                  D Secretary of State Citation ($12.00) Q                       Capias (not an E-Issuance)              Q Attachment
                        Certiorari                                               Highway Commission ($12.00)
                        Commissioner of Insurance ($12.00) E] Hague Convention ($16.00)                                   Q Garnishment
                  |    | Habeas Corpus                                    Q Injunction                                    Q Sequestration

                  |~1 Subpoena
                  |~1 Other (Please Describe)
                  (See additional Forms for Post Judgment Service)

                        SERVICE BY (checkout:
                        ATTORNEY PICK-UP (phone)                                                         [ X ] E-Issuance by District Clerk
                         MAIL to attorney at:                                                            (No Service Copy Fees Charged)
                        CONSTABLE             *                                        Nate. The email registered with EflleTexas.gov must be
                        CERTIFIED MAIL by District Clerk                               used to retrieve the E- Issuance Service Documents.
                                                                                        Visit www.hcdistrictclerk.com for more instructions.

                  I~l CIVIL PROCESS SERVER - Authorized Person to Pick-up:                                                             Phone:

                  I I OTHER, explain

                  Issuance of Service Requested By: Attorney/Party Name: Avsia Mavo-Grav Bar # or ID 24109256

                  Mailing Address: 5832 Highway 6 North. Houston. TX 77084                                 Phone Number: (346) 980-4600



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                                    fc I          Marilyn Burgess
                                                  HARRIS COUNTY DISTRICT CLERK
                                                  20" Caroline j P.O. Box 4651 ] Houston, Texas /7210-4651 | 832-927-5800 | www.hcdistrictceric.com


                                                                       Request for Issuance of Service
                  CASE NUMBER:                                                        CURRENT COURT: __


                  Nm»e(s) of Documents to be serwd: Plaintiff's Original Petition and Request for Disclosure

                  FILE DATE:          10/07/2020                            Month/Day/Year
                  SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The PleadingTo Be

                  Served):

                  Issue Service to: Kroger Texas L.P.

                  Address of Service: 211 E. 7th Street, Suite 620
                  City, State & Zip: Austin. Texas 78701-3218

                  Agent (if applicable)       Corporation Service Company d/b/a CSC-Lawvers Incorporating Service Company

                  TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)

                  [ X ] Citation            Citation by Posting Q                 Citation by Publication                Q Citations Rule 106 Service
                        Citation Scire Facias                                    Newspaper

                        Temporary Restraining Order                              Precept                                 O Notice
                        Protective Order
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                        Certiorari                                               Highway Commission ($12.00)
                        Commissioner of Insurance ($12.00) E] Hague Convention ($16.00)                                   Q Garnishment
                  |    | Habeas Corpus                                    Q Injunction                                    Q Sequestration

                  |~1 Subpoena
                  |~1 Other (Please Describe)
                  (See additional Forms for Post Judgment Service)

                        SERVICE BY (checkout:
                        ATTORNEY PICK-UP (phone)                                                         [ X ] E-Issuanc* by District Clerk
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                        CONSTABLE             *                                        Nate. The email registered with EflleTexas.gov must be
                        CERTIFIED MAIL by District Clerk                               used to retrieve the E- Issuance Service Documents.
                                                                                        Visit www.hcdistrictclerk.com for more instructions.

                  I~l CIVIL PROCESS SERVER - Authorized Person to Pick-up:                                                             Phone:

                  I I OTHER, explain

                  Issuance of Service Requested By: Attorney/Party Name: Avsia Mavo-Grav Bar # or ID 24109256

                  Mailing Address: 5832 Highway 6 North. Houston. TX 77084                                 Phone Number: (346) 980-4600



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